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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:13CR58
       vs.                                   )
                                             )                     ORDER
MICHELLE C. CHRISTIANSEN,                    )
                                             )
                                             )
                     Defendant.


        This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTION DEADLINE [21]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 14-day extension. Pretrial Motions shall
be filed by May 22, 2013.

       IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [21] is
granted. Pretrial motions shall be filed on or before May 22, 2013.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

       3.       The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 8, 2013 and May 22,
2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 8th day of May, 2013.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
